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CRANBROOK KINGSWOOD
UPPER SCHOOL

2003-2004

COMMUNITY HANDBOOK

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WELCOME

Cranbrook Kingswood is an exciting and dynamic community in which to live,
learn and study. Based on the founders’, George and Ellen Booth, dream of
providing educational opportunities for youth, the school offers an array of
academics, athletic and personal challenges. We hope that this academic
year will see you accept those challenges.

This handbook provides the basis for the code of conduct underlying the
schools’ two mottoes, “Aim High” and “Enter to Learn, Go forth to Serve.” In
familiarizing yourself with this Handbook, you will become more aware of your
role and the school's commitment to excellence, social responsibility and
community living.

On behaif of the faculty and staff, | wish you the best as you become part of
this extraordinary educational community.

Arlyce M. Seibert
Director of Schools

Titling this a “Community” handbook is our commitment to maintaining an
inclusive community in which students, parents, faculty and staff ail strive
together to reach our highest aspirations. Please read carefully the section on
mission, principles, and goals that follows. The information contained within
applies to us all as a community of interconnectedness.

‘As an educational community we reflect continuously on shared values and
expectations. Yet we also are a community of diverse individuals with many
dreams, skills, and experiences. This dichotomy creates a dynamic tension
within our community, a tension between our bond and our individuality. This

tension can be a source of great strength to our community if itis kept in a
good balance.

To achieve and maintain that balance, we need a stated set of policies and
procedures that articulate our rights and our responsibilities. These
statements assist us in both our individual and collective pursuits. Hence, this
Handbook serves a critical need. | do expect that each of us will commit
ourselves, not only to the prescribed expectations and standards contained
herein, but also to the spirit of our school community.

if you ever have a question, concern or idea, please share it so that we can
discuss it together. By working collaboratively we will continue to improve and
strengthen our community.

| share your excitement and energy, as we look forward to another great year
at Cranbrook Kingswood.

Charles T. Shaw
Acting Head of Upper School

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CONDUCT RULES AND EXPECTATIONS

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Community Standards
Students are expected to help create a community of trust by adhering to

high standards of conduct in and out of the classroom. Inherent in
these standards is the belief that honesty, integrity, safety, self-
respect, and respect for one another are the principles that our
community values most. The protection of these values depends on
common sense, courtesy, individual participation in constructive behavior,
and thoughtful and sensitive awareness of others. Members of our
community come from diverse cultural, religious, economic, and ethnic
backgrounds, and it is the responsibility of all to honor the individual
differences of others.

The goal of the school's disciplinary system is to provide a student with a
set of common standards which define expectations, set limits for social
behavior, and foster a sense of responsibility for the school community
and for one’s self. .

Behavior Violations

° Students are held accountable for their participation in actions
that violate the values and standards of the community.
Disruptive, disrespectful and demeaning behavior in the classroom or
in any area of school life will be addressed.

e In addition to a meeting with the Dean of Students (and/or faculty,
adviser and parents), the student should expect consequences such
as conduct warning, work duty, detention or conduct probation.

e Any continued pattern of behavior occurring after such a
meeting and/or warning will cause the student to be subject to
further discipline including dismissal or refusal of the next
year’s enroliment.

Major School Rule Violations
Community standards of integrity, respect, and personal and
community health and safety are integral to school life in and out of
the classroom. Each of the following actions is considered a
violation of one of these common standards and thus a major
schookrule violation. Students whose behavior contributes to the
violation of these standards should expect to face the discipline
process. Such violations are addressed through a meeting with
the Dean of Boys or Dean of Girls; a hearing before the Conduct
Review Board; or, in certain cases, a process of administrative
review.
e Violations of respect for people and property
1. Use of inappropriate, demeaning, vulgar, profane or
obscene language, writing, or gestures that imply
disrespect; also inappropriately intimate gestures or
behaviors.
2. Vandalism or abuse of school or personai property.

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e Integrity Violations

1. Lying. N.B. lying in the course of any part of a disciplinary
process may result in dismissal.

2. Cheating, including plagiarism. (See Academic. Integrity)

3. Stealing (or possessing items known to belong to others);
also includes unauthorized use of student |.D., telephone
codes, computer I.D. or computer accounts.

4, Any violation of the Cranbrook Technology Use Policy.

e Endangerment of the safety of individuals, community
and others
Any student whose behavior compromises the authority, safety
or security of the School or any of its members is subject to
immediate dismissal.

1. Verbal or physical abuse, threatening !anguage or
behavior, dangerous physical contact.

2. Initiation, hazing or harassment, as defined under
Harassment.

3. Possession or use of any school key or entry device not
assigned to the student.

4, Tampering with fire extinguishers, smoke alarms or

emergency light equipment.

Driving recklessly on campus.

Not complying with procedures required during evacuation

drills or other safety related measures.

Accessing construction sites closed to the public.

Possession or use of weapons, e.g., firearms, facsimile

guns; air guns, including BB guns, paint-pellet or spring-

loaded, compressed air pellet guns of any kind; knives that

_ have blades three inches or longer.

9, Any violation of a State or Federal law while under the
jurisdiction of the school. The School also reserves the
right, in extenuating circumstances, to hold students
accountable for public behaviors (i.e., away from school)
that are a violation of the standards of the school
community. (See alse Jurisdiction)

The following are violations for all students but are of

special relevance to resident students and their guests:

10. Failure to sign out properly when leaving the residence
hail; leaving the residence hall after curfew.

41, Being in the residence hall room of a student of the
opposite sex.

12. Possession or use of candles, incense or other
combustibles in the residence hall.

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e Use of substances as a health and safety issue

4. Use or possession of alcohol or any controlled substance
or dangerous drug as defined by State and Federal law,
including but not limited to marijuana, any nascotic drug or
hallucinogen, inhalant, any stimulant or depressant,
steroids or look-alike drugs/beverages.

2. Improper use of over-the-counter medications or improper
use of any form of inhalant.

3. Possession of paraphernalia for use of drugs or alcohol.

4, Facilitating the use of drugs or alcohol, or otherwise
participating (even if not using, i.e., being in the presence
of drugs or alcohol). Note: For health and safety reasons,
school officials reserve the right to notify parents or local
authorities when they receive information concerning an
off-campus event at which drugs or alcohol will be
available to minors. (See Safe Homes and Parent
Awareness Network and Drug and Alcohol Policy)

5. Use of any tobacco product on schoo! grounds or while on
school-sponsored trips. Possession of tobacco products
will also result in a discipline response.

Academic Integrity

To maintain an atmosphere of mutual trust and confidence amongst
students and faculty and to ensure that each student is judged solely on
her or his own performance, Cranbrook Kingswood Upper School
adheres to a strict code of academic integrity. Central to this code is the
expectation that students develop their work honestly and fairly.

The scope of actions that fall under this code is intentionally broad. They

include, but are not limited to, plagiarism in all tts forms, cheating,

manipulating and/or destroying the work of others and improper use of

technology. Some examples of academic dishonesty include:

« giving or receiving aid on any assigned work (including homework) or
during a quiz, test, exam, or other assessment exercise

« failing to distinguish carefully and clearly between one's work and ideas
and information from another source, i.e., plagiarism (see below)

« misrepresenting the type or amount of work completed (e.g., fabricating
laboratory data/reports)

* misusing school resources, including the library, computers or the
school's technology network

* possessing any teacher's editions of texts (or other teacher's
instructional materials) without permission of the teacher

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Responses to Violations of Academic Integrity

The school responds to violations of academic integrity according to

departmental policies and the School's discipline process. The

responses are commensurate with the nature of the offenses. Students
who violate academic integrity can expect the following to occur:

* The teacher brings the act of academic honesty (including plagiarism .
and cheating) to the attention of the department head. The adviser
and appropriate dean of students are also notified.

© Typically, if the violation is the student's first violation of academic
integrity for the year and if it occurs on a minor assignment
(including homework, minor quiz or lab) and if the student is not
already on discipline status, the situation is resolved with the
department head and the teacher. The appropriate dean, adviser
and parents are informed.

e There is a more serious reaction if the violation occurs on a major
quiz, test, paper, report, lab practicum, or if it is the student's second
instance of a lesser infraction (including homework, minor quiz or
lab). The infraction is also more serious if it occurs when the student
has discipline status. In these instances, the integrity violation is
assessed by the department head and then brought to the
appropriate dean of students for the disciplinary process (which may
include a Conduct Review Board meeting). The work which has
been submitted in such instances will be evaluated according to
departmental policy.

e Academic penalties are determined by the department head in
consultation with the department members, while citizenship
penalties are determined in the discipline process which is overseen
by the deans of students.

e The student who plagiarizes or cheats should expect an academic
penalty (e.g., lowering of the quarter grade, lowering of the
assignment grade, loss of credit for the work re-submitted.

e Typically, in the case of plagiarism, the student's paper is considered.
unacceptable and is returned for rewriting.

Plagiarism
Plagiarism is a form of stealing which is a fundamental breach of ethics in

an academic community. Students are expected to know what

plagiarism is and to ask their teachers if they have any questions

concerning the proper use of resources. There are many examples of |

plagiarism; for instance, a student plagiarizes when:

« the same work is submitted to two separate classes

« work is submitted that has been done by a tutor, another adult or
another student

e work is submitted as one's own without proper citations

e work is submitted that is copied from any other source, including other
students, the Internet, websites, etc.

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Disciplinary Procedures
There are several ways in which the School responds to a violation

of a major school rule or to a pattern or repetition of other behavior
violations (for example, unexcused absences, driving or parking
violations, dress code violations, etc.).

4, Conduct Review Board Procedures: A student who violates a
major school rule or has a pattern/repetition of other violations may
be called before the Conduct Review Board, made up of either or
both of the Deans of Students and appointed faculty members and
senior students. Parents are notified of the hearing beforehand, if
possible, and informed of the decision after recommendation of the
Conduct Review Board has been approved, (Parents or any other
parties not associated professionally with the school are not
permitted to attend the Conduct Review Board meeting.) The
student's adviser and house adviser (if appropriate) are invited to
attend the meeting. (The student may ask that another faculty
member also attend.)

CRB meetings are conducted in a manner that teaches. The
student is given an opportunity to discuss the discipline matter with
peers and adults in ways that will help her or him amend
behaviors. The student is expected to explain the circumstances
of the rule violation in an honest and forthright manner. if the
student is dishonest she/he should expect to be dismissed. The
adviser is permitted but not required to speak on the student's
behalf. In private, members of the Conduct Review Board assess .
the incident and recommend consequences for the conduct to the
Head of the Upper Schoo! for final approval. In the case of a
recommendation for dismissal, the Head of the Upper School and
the Director of Schools must give approval.

2. Administrative Review: The school reserves the right to
implement this process in lieu of a Conduct Review Board
meeting. !n this situation Upper School Deans meet with the
Head of the Upper School to make a recommendation to the
Director of Schools.

3, Meeting with the Dean of Students: The Deans meet with
students to discuss problem behavior and violations of various
kinds. These meetings are intended to help the student make
appropriate changes and avoid future, more serious
consequences. Students and parents should expect that in certain
circumstances, when the student has broken a major school rule
or has a pattern of other violations, she/he may be placed on
conduct probation directly by the Dean of Boys or Dean of Girls.

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The Dean may also make this decision if a student has already
received a conduct warning and conduct probation is the next step.
(See Disciplinary Consequences) Sometimes, at such a meeting
with the student, the Dean is joined by the student's adviser and/or
one or more representatives of the Conduct Review Board.

Note: Any situation that may involve a lengthy probation, a
suspension of two or more days or a dismissal must go to
either a Conduct Review Board or an administrative review.

Disciplinary Reactions
Consequences vary according to the seriousness of the offense

and the student’s record of conduct. The most informal reaction is
a meeting with the Dean of Students in which there is discussion
and, if needed, a verbal warning. More serious consequences
include the following:

«Conduct Warning Level 1: A student who is unexcused
from class or excessively tardy, is disruptive in class, has
dress code violations, or a driving or parking violation, or in
minor ways violates community standards, will receive a
Conduct Warning level 1 for a specified amount of time by the
appropriate Dean. The student will receive consequences for
her or his behavior and may be required to meet with a school
counselor to discuss strategies to curtail the behavior.

e Conduct Warning Level 2: The student who commits more
serious infractions or continues to violate community
standards will receive consequences and a Conduct Warning
jevel 2 for a specified amount of time. The student may also
be required to meet with a school counselor to discuss
strategies to curtail the behavior. This may be a final warning
prior to more serious discipline, €.g., conduct probation,
suspension or dismissal.

e Conduct Probation: Students who violate a major school
rule or have a pattern of other behavior violations can expect
to be placed on Conduct Probation for an extended length of
time (they may also be dismissed), The student may be
required to meet with a school counselor to discuss strategies
to curtail the behavior. During Conduct Probation, if the
student violates any school rules, she or he is subject to
immediate dismissal. (Note: Before the end of the
probationary period, the student on conduct probation is
required to petition in writing to the Dean in order to
have the probation end.) Conduct Probation can negatively
affect certain privileges, including re-enrollment, Honor Roll,
Senior May Project and the process of college admission.

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e Suspension of one or more days: A student is suspended for
repeated violations or for a more serious major school rule
infraction. Any student suspended from school may not participate
in any school activity through the term of the suspension. The
student is not allowed on campus unless she/he has received an in-
schoo! suspension. A suspended student must contact teachers for
work assigned during her or his absence and be responsible for its

completion upon return to school; deadline extensions will not be
given to the suspended student. Individual teachers may choose to
deny credit for work done during suspension, particularly in
instances involving cheating or plagiarism.

e Suspension and consequences on student leadership
positions: A student who is suspended for two or more days will
lose her/his leadership positions (e.g., as officer in a school
organization, or captain of a school team). A one-day suspension
will not result in the loss of a leadership position unless there is a

~ recommendation coming from the discipline process. If there is no
recommendation, the appropriate faculty and administrators may
decide to withdraw the student's leadership. (For teams, the faculty
involved in making the decision include the head coach and athletic
director; for organizations, the adviser to the activity and the
appropriate dean of students will decide.)

e Restrictions, work duty, community service, ete: in addition to
being given a Conduct Warning or being placed on Conduct
Probation, a student is expected to fulfill conditions related to the
school's response to the offense.

e Special conditions attached to discipline consequences: In
conjunction with receiving a warning, being placed on Conduct
Probation and/or being suspended, students are often expected to
comply with requirements including (a) restriction/suspension from
activities including school-related events, performances and athletic
participation; (b) participation in school service (such as work duty
on campus) or community service.

e Dismissal: A student is dismissed if the offense is very serious in
the eyes of the community, or if the student has already broken a
major school rule or already has a pattern of any rule violations.
Dismissal occurs with the recommendation of the Conduct Review
Board or the administrative review process. A dismissal requires
the approval of the Head of the Upper School and Director of
Schools. A student who has been dismissed or who has withdrawn
from school for discipline reasons cannot be on campus without the
specific permission of the Dean of Boys or Dean of Girls, or the
Head of the Upper School. Parents, adviser and house adviser are
notified in writing on any of these discipline consequences. See
College Counseling (page 22) for information on the reporting
discipline matters to colleges or universities.

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Jurisdiction

Day students are under the School's jurisdiction when they are on
campus and when they are at any school-sponsored activity away from
school. The Schoo! reserves the right, in extenuating
circumstances, to hold students accountable for public behaviors
(i.e., away from school) that are infractions of the standards of the
school community or state or federal law.

Resident students are under the School's jurisdiction at all times during
the school year except when on holiday breaks or when properly signed
out to a responsible adult (e.g., guardian, parents, or parents of a
classmate). If both day and resident students violate a major school
rule, as listed in the Handbook, in an incident away from campus,
the School reserves the right to exercise jurisdiction over all
students. ,

Drug and Alcohol Policy

Out of concern for the health and safety of our students, the School will
notify parents or local authorities if it learns of an unchaperoned party or
gathering. While it is likely that the School will suspend or dismiss a
student who is known to use or possess drugs or alcohol, it will respond
with assistance and support for any student who seeks help with
problems of this nature. Every effort will be made to provide appropriate
support services to any student who seeks confidential counseling or
guidance through the auspices of a dean, counselor, faculty member or
member of Student Concerns. However, any student selling or
distributing drugs or alcohol can expect to be dismissed from school.

Medical Withdrawal a

A medical withdrawal is reserved for the student who for reasons of
physical or emotional illness cannot meet the attendance requirements of
the school. in certain situations when itis determined that a student is in
serious difficulty and requires intervention, Health Services may be asked
to evaluate a student for a possible medical withdrawal rather than
consider disciplinary action. Medical details surrounding the withdrawal
will be considered confidential. Release of medical information will
require consent and will not be part of the academic record.

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ATTENDANCE POLICY

Attendance is a basic expectation. Unnecessary absences and
tardiness are strongly discouraged; they diminish the student's
educational experience and are disruptive to individual
students, classes, teachers, and the School community.
Besides classes, a student’s academic day obligations also
include assemblies, class meetings, adviser-advisee meetings,
and special programs (including Day of Dialogue, The World
Affairs Seminar, etc.). Outside the academic day, obligations
may include intramural or interscholastic sports (see Athletic
Requirement in the Handbook).

Students may miss obligations if they are ill, or are away due to family
emergencies, school-related activities or schoo-approved college
visits. Other absences are strongly discouraged. All class absences
are reported to families at the end of each quarter.

Parents are urged to contact one of the Deans (Deans of Students or
Academic Deans) if they have concerns about their student's ability

to attend obligations or if they have any questions on the policy which
is detailed beiow.

Reminders for Day Students and Their Parents

e Parents of day students are required to report their daughter's or
son's absence on each day of an absence (before 9:00 a.m.
please). A message can be left on voice mail at either Deans of
Students Office 24 hours a day.
Cranbrook (Boys): 645-3600; Kingswood (Giris): 645-3400

e Assignments may be gathered by the end of the day for the
student (and picked up, faxed or e-mailed) If they are requested

by 9:00 a.m.
e It is important for parents to indicate reason for the absence
(e.g., “ is ill today”). Absences which are not identified

by parents as illness, doctor's appointment, college visit, travel,
etc. will be recorded as “non-disclosed.” (Non-disclosed
absences will need documentation if a student is in jeopardy of
losing credit for a class due to excessive absences. See
Academic Penalties and Loss of Academic Credit Due fo
Excessive Absences in this Handbook section.)

e Students should expect unexcused absences for any “skips.”
Seniors and their parents: Please note that the School does
not recognize skip days; such absences are disruptive and are
considered unexcused.

e Families should schedule off-campus appointments during
the student’s open periods or after school.

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e Itis essential that not only classes but also other
obligations be respected: Assemblies, class meetings,
adviser-advisee meetings, and special programs (Day of
Dialogue, The World Affairs Seminar, etc.) are an essential
part of curriculum, student support and community life.

e Students may not miss classes in order to study, or to complete
other assignments or work (including the preparation of college
admissions materials, etc.). .

e Once atschool, day students are expected to see the nurse or
come to the Dean of Students Office if they feel they need to
miss a class due to illness or other personal reason. In these
circumstances, parents do not excuse the student without
communication with the nurse or the Dean's Office. For health
and safety reasons, students are not allowed to leave
campus without such communication. (Note that students
who leave campus without permission are breaking a major
school rule.)

- Reminders for Resident Students and Their Parents

e Resident students who are ill must see the nurse, or if not
available, the dorm office administrative assistant or Dean of
Students if they need to miss an obligation; otherwise, they will
be considered to have an unexcused absence for each class
missed. A call from a resident student's parents is not
sufficient; the student must see the nurse.

« The same policy applies to students who face personally
demanding or urgent situations. A call from the resident
student’s parents is not sufficient to excuse a student from
class. For health and safety reasons, it is important that a
responsible adult on campus (nurse, counselor, Dean of
Students, dean’s assistant, house adviser) be aware of any
problem that would cause a student to miss class.

e Students may not miss classes in order to study, or to complete
other assignments or work (including the preparation of college
admissions materials, etc.). .

e Families should schedule off-campus appointments during
the student’s free periods or after school. It is essential that
not only classes but also other obligations be respected:
Assemblies, class meetings, adviser-advisee meetings, and
special programs (Day of Dialogue, The World Affairs
Seminar, etc.) are an essential part of curriculum, student
support, and community life.

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Academic Penalties and Loss of Credit Due to Excessive Absences
Teachers notify students of their course policies (consistent with School
practice) on absences, including make-up work on return from absences,
as well as penalties (e.g., diminished/no credit) for work missed because
of unexcused absences.

At any time during the semester, a teacher may raise a concern about a
student's attendance (i.e., the number of absences or tardies; the pattern
of absences on certain days, including those on which assignments are
due). This concern may result in some consequences, including a close
monitoring and documentation of future absences.

Loss of Credit: Faculty depend on students’ presence and participation
in class for their own learning and for the progress of the class as a
whole. Sometimes absences, notably those due to illness, are ,
unavoidable. in other instances, the absences (i.e., when based on
personal choice) may be avoided, itis the student's responsibility to ©
make choices which do not remove her/him from class excessively, i.e.,
fifteen or more times during a semester. Students and their parents are
encouraged to contact the Academic Dean or Dean of Students if they
have concerns about choices of activities in or out of school which could
remove the student from numerous classes.

Students should expect to lose academic credit in any course once
they accrue fifteen or more absences within the semester.
According to this policy, both excused and unexcused absences
(including tardies of fifteen or more minutes) are counted. Before
notification of loss of credit (that is, when the student's absences reach
eight or more), the family will receive a reminder of this loss of credit
policy. At that time the parents or student may request a meeting to
review the student's attendance.

Upon notification of loss of credit, it is the responsibility of students
and their parents to petition if they wish to appeal the loss of credit.
This petition must be directed to the appropriate Academic Dean
and Dean of Students for consideration. If the family appeals, the
student's attendance will be the subject of an administrative review
by the appropriate Academic Dean, Department Head, and Dean of
Students, with the input of the appropriate teacher and the adviser.
For this purpose it is essential that parents present documentation
of the reasons for their student's absences.

The student who loses credit in the course receives either a WP
(withdrawn passing) or a WF (withdrawn failing), depending on
her/his academic status at the time of withdrawal. It is the student's
obligation to attend all classes prior to and throughout the
petitioning process.

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{Note for seniors: In the event a withdrawal jeopardizes the fulfillment of
graduation requirements, a recommendation will be taken to the faculty for
discussion and vote; the Head of the Upper School will determine the final
decision.)

Unexcused Absences

4. All unexcused absences are reported by the Dean of Students Office
to parents by telephone and/or mail.

2. Anunexcused tardy of fifteen or more minutes in a class is”
considered to be an unexcused absence.

3. If the absence is unexcused, the student should expect to receive
diminished or no credit (i.e., an E (50%) for any assignment such as
a homework, quiz, test, or paper due that class period.

4. Astudent with an unexcused absence in a school obligation is
assigned to a class period of study detention for each period of class
or obligation missed. Note on detentions: Students are expected to
serve detentions no later than one week from the missed obligation.
Failure to serve detention may result in an additional unexcused
absence and/or a Conduct Warning level 1.

5. Astudent who accumulates three unexcused absences should
expect a meeting with the Dean of Students and or adviser. The
student also receives a Conduct Warning level 1. Additional
absences (4" through 6" ) result in a Conduct Warning level 2.

6. Any student with seven or more unexcused absences should expect
to be placed on Conduct Probation by the Dean, or as a result ofa
recommendation by the Conduct Review Board.

7. Additional unexcused absences may result in dismissal.

Unexcused Tardies .- .

Whenever a student is tardy to class, she/he should verify with the
teacher whether the tardy is excused or unexcused. Three unexcused
tardies will be considered an unexcused absence. (See above:
Unexcused Absences.) Faculty will report accumulations of tardies to the
Deans of Students. A tardiness of fifteen or more minutes is considered
to be an unexcused absence.

Passes to Return to Class After Absences

Students who have been absent must come to either Dean's Office for a
pass before returning to any class. The pass authorizes the teacher to
readmit the student and count this absence as either excused or
unexcused. (Rather than miss class time to go to the Dean's Office,
students should pick up their passes before school or during their
breaks.)

ilIness or Emergencies During the School Day
Students who become ill during the day must see the nurse before
going home or returning to the residence hall.

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if a nurse is unavailable, students must report to the Dean's Office.
Day students should never leave campus without securing
permission (leaving campus without permission is a violation ofa
major school rule). Even ifa parent is aware and has given
permission, the student must first report to the nurse or the Dean's
Office. If students do not follow this procedure, their absence will be
considered unexcused. Students with emergencies or urgent needs
(e.g., to leave campus) must first report to the Dean’s Office.

Absences for College Visits
See the policy outlined in College Visits in the Academic Life section of
this Handbook.

Absences for Travel or Family/Student Activities and Non-Essential

Reasons

Unnecessary absences are strongly discouraged; they diminish the

student’s academic experience and are greatly disruptive to individual

students, classes, teachers and the School community. Missing school
for reasons other than illness or family emergencies is strongly
discouraged. The following important guidelines should be
heeded:

e Off-campus appointments should be scheduled during the
student's free periods or after school. It is essential that not only
classes but also other obligations be respected: Assemblies, class
meetings, adviser-advisee meetings, and special programs (Day of
Dialogue, The World Affairs Seminar, etc.) are an essential part of
curriculum, student support, and community life.

e Family/student travel and school vacations: Families are
expected to observe the scheduled vacation/ holiday breaks in the
yearly school calendar when they remove the student from school. In
particular, before making any plans to remove the student from a
class, they should review Academic Penalties and Loss of Academic
Credit Due to Excessive Absences. The policy states that students
should expect to lose academic credit in any course once they
accrue fifteen or more absences within the semester.

e The Proposed Absence due to Travel or Student/Family Activity.
This form is secured directly from either the appropriate Academic
Dean or Dean of Students. It must be turned in to the same dean at
least one week (seven days) before the absence. if the absence is
properly verified, make-up work (including tests, quizzes and papers)
is due on the day of return. If the absence is not propertly verified
and turned in on time, the student should expect to receive
discipline consequence (such as a Conduct Warning level 1)
and/or an academic consequence, diminished or ne credit (i.e.,
an E [50%] for any assignment, such as a homework, quiz, test,
paper due the class period she/he misses class.

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e Regarding early departures before (or late returns after) long
week-ends or major breaks: There are three major breaks
scheduled in the school year as well as several long weekends.
Families are strongly discouraged from removing students from class
either before or after these breaks. Students should miss classes
only in extenuating circumstances such as when international
flights are not available. if a student must be absent, she/he
must turn in the Proposed Absence due fo Travel or
Student/Family Activity form no later than one week (seven
days) before the absence. Before making any plans to remove
the student from classes, families should review Academic
Penalties and Loss of Academic Credit Due to Excessive
Absences in this section of the Handbook. The policy states
that students should expect to lose academic credit in any
course once they accrue fifteen or more absences within the
semester.

e Recreational and other unnecessary travel is strongly
discouraged. If a student must be absent, she/he must turn in the
Proposed Absence due to Travel or Family/Student Activity form no
later than two weeks school (fourteen days) before the absence.
Before making any plans to remove the student from classes,
families should review Academic Penalties and Loss of Academic
Credit Due to Excessive Absences. The policy states that students
should expect to lose academic credit in any course once they
accrue fifteen or more absences within the semester.

e Sometimes parents make the decision to remove the student from
classes. In these situations the student does not have a choice and
therefore will not be penalized with unexcused absences. However,
when the student has a choice to remain in school and does not,
she/he should expect to receive unexcused absences with all the
appropriate consequences (see Unexcused Absences).

e Absences for College Visits are approved and verified through the
College Counseling Office. Students are allowed academic make-up
days equal to the number missed for the visit.

e Absences which are not verified by College Visit or Proposed
Absence due to Travel or Family/Student Activity forms will be
considered unexcused.

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Severe Weather Procedures

The decision to close school because of weather conditions will normally
be made prior to 6:00 a.m. (In case of rapidly changing weather
conditions, the decision could be made as late as 6:45 a.m.) Parents and
students are advised to listen to the local radio and television stations for
school closing information. The following television and radio stations
broadcast school closings for the Detroit area:

WJBK-TV (Ch. 2) WDIV-TV (Ch. 4).
WXYZ-TV (Ch. 7) WJR-AM (760)
WW4-AM (950) WPON-AM (1460)
WMUJC-FM (94.7) WHYT-FM (96.3)
WJOI-FM (97.1) WNIC-FM (100.3)
WDET-FM (101.9) WMUZ-FM (103.5)
WOMC-FM (104.3) WWWW-EM (106.7)
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DRESS CODE

During the academic day (8:00 a.m. — 3:20 p.m.) Cranbrook Kingswood
students are required to dress according to standards that respect our
learning environment. While students have the right to express their
individuality, their clothing and footwear should be appropriate, neat and
clean and should also comply with the expectations described below.

-Reqular Dress Days (usually Tuesday-Friday):
Boys: dress shirts, turtlenecks, knit shirts, sweaters, T-shirts (plain, CK
or college), slacks, shorts when seasonably appropriate (Sept.-
Oct. & Apri-June).
Girls: dresses, skirts, blouses, sweaters, appropriate T-shirts (plain, CK
or college), slacks, shorts when seasonably appropriate (Sept.-
Oct. & Apri-June).

Some clothing is never allowed during the academic day:

e No denim (pants, including blue jeans; skirts, jackets, etc.).
Students may wear denim on designated Jeans Days.

» No undershirts. (T-shirts and sweatshirts are permitted with
Cranbrook Kingswood or college names only.)

« No sweat pants, warm-up pants, velours, spandex, pajama
bottoms, sleepwear or athletic shorts.

e No camouflage.
No revealing or tight clothing; no bare midriffs.
No shorts or'skirts above mid-thigh; undergarments should not be
visible.

« No tops with spaghetti straps, no tank tops.

e No frayed clothing.
No head coverings (for example, bandanas, hats, caps, hoods in
the academic buildings and the dining halls. (Head bands are
allowed.)

e No bare feet.

Formal Dress Days (Monday unless otherwise noted):

Students are expected to use a higher level of standards for all clothing—

including outerwear—and footwear

Boys: dress shirts with ties and dress slacks (no cargo or parachute
pants). No flip-flop sandals. On special formal occasions, boys
may be expected to wear sports jackets.

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Girls: dresses, or tailored/dressy tops with dressy/tailored slacks or
skirts. No T-shirts. No flip-flop sandals.

Game Days: Do not wear CK game day attire that does not fit the dress
code—No warm-up pants, athletic shorts. Most team attire is not
appropriate for formal dress days. Team attire must have approval from
the athletic director and the campus Deans.

Jeans Days: On Jeans Days (monthly, typically the last Friday), students
are expected to be in regular dress code except for denim pants, skirts,
dresses, shirts, etc.

Violations: Students who violate the dress code are reported to the -
Dean's Office. The typical discipline consequence is detention. More
serious or repeated violations (three or more per semester) will lead to
more serious consequences such as being excluded from class or being
placed on Conduct Warning.

USE OF MOTOR VEHICLES

The privilege of student driving allows students convenient, even
necessary transportation to school. However, driving is also a
serious responsibility for students and their families. Parents and
students should review together School expectations.

Permissions
Due to limited parking areas, only Junior and Senior day students are
allowed to drive to school. The only exceptions are those Sophomores
who have applied to the Dean of Students and have been granted

_ permission due to special family circumstances. Senior resident students
in good standing are allowed to drive, and junior residents with special
needs may apply for permission te have a car on campus. (See
Residential Life.) Shuttle bus service between Cranbrook and Kingswood
is provided throughout the academic day.

Students may drive only vehicles registered under their families’ or
their own names.. All cars must be identified by student parking tags.

Parking

During the academic day, junior and senior students must park in either
of two parking lots: the Performing Arts Center parking lot (550 Lone
Pine) or the Kingswood lot. Sophomores are required to park in the
Tennis Bubble parking lot. When applying fora parking permit, each
junior or senior student selects the one parking lot in which she/he will

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park for the school year. (There is no driving between campuses except
for the situations described in Use of Vehicles During the Academic Day.)

Students should remove their school needs from their vehicles when they
park; they should not go to the parking jot to retrieve books or other
belongings from their vehicles.

In case of an urgent need to move a car, the student is expected to see
the Public Safety officer on duty or to present written permission from the
Dean of Students to the officer on duty. Reserved parking spots are
always off limits.

Use of Vehicles During the Academic Day

Students are not allowed to drive or ride in vehicles during the school day
unless they fall into one of these categories: (1) seniors who leave
campus for lunch (between 11:00 a.m. and 1:30 p.m.); (2) students who
have been given special permission by the Dean of Students or Public
Safety to drive between campuses or leave campus, (3) students with off-
campus appointments which have been cleared through the Dean's
Office; (4) students who leave campus when their academic obligations
end before 8" period; (5) students who are sent home by the nurse due
to illness. Students who need permission (i.e., those in #2 and #3) must
secure passes from the dean's office. Violations of these expectations
‘nclude restriction or suspension of the driving privilege (including not
being allowed to drive/park on campus) as well as Conduct Warning or
Conduct Probation.

Use of Motor Vehicles by Resident Students

Senior resident students may have a car on campus. Parental
permission and good academic and social standing determine whether or
not this permission is granted. Juniors in good standing may be granted
permission for restricted use if they have special needs (e.g., traveling
home at designated times). Juniors keep their keys In the residence hall -
office, The Campus Deans may revoke the driving privilege if driving or
parking violations take place. Cars must be parked in designated areas.
Students may drive only those cars registered to them or to their parents.
Students who have signed out for an overnight or weekend may not drive
on campus after midnight.

Senior Lunch Privilege
Between fourth and sixth periods (11:00 a.m. -1:30 p.m.) Seniors may be

off campus for lunch, but they are prohibited from having 9th, 10th or
41th graders with them. All students leaving campus must have and
show their Senior ID cards to the Public Safety Officer.

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Campus Safety

Vehicles are always to be driven with care and in observance of speed
limits and traffic flow (e.g., one-way streets), Students should expect that
Public Safety Officers are on duty to enforce the School's driving rules.

At the request of any officer (or bus driver) students are expected to
identify themselves with their CK identification cards. Students may not
drive on campus after 10:00 p.m. on Sunday through Thursday and after
midnight on weekends. .

Violations

Use of a vehicle is a privilege for a student, not a right. Driving, riding
and parking violations result in tickets issued by Public Safety Officers
and school discipline including Conduct Warning or Conduct Probation.
The tickets are placed on the vehicle’s windshield and are the student's
responsibility. Questions about tickets should be addressed within
forty-eight hours, i.e., two school days, by the student to the Public
Safety Officer. The charge of $35.00 for each ticket appears on monthly
billing statements.

Reckless driving which threatens the safety of others will not be
tolerated and will result in discipline such as Conduct Probation
and revocation of the driving privilege (e.g., for a semester). The
behavior may also be reviewed by the Conduct Review Board.

Any student with repeated moving or parking violations should
expect that his/her driving privilege will be suspended by the Office
of Public Safety and the School for the rest of the semester, if not
longer. During a driving suspension, any student who drives to/at
school will incur major discipline and come before the Conduct
Review Board.

STUDENT USE OF ELECTRONIC DEVICES INCLUDING PHONES

Students should not use cellular telephones, walkmans or electronic
games or other devices in the classrooms, the academic building or in
the dining halls. The School appreciates the need for contact between
parent and child especially in urgent situations and encourages students
to use office or pay phones for such contacts.

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HIGHLIGHTS OF THE CRANBROOK SCHOOLS
TECHNOLOGY USE POLICY

The use of the computer resources at Cranbrook Schools is a
privilege, not a right. The Schools’ computer resources must be
used for purposes consistent with the mission of the school and
used unselfishly, with good manners, and for the good of the

community as a whole.
These are guidelines to prevent the loss of computer/network privileges at
school:

e  Donotuse the computer to harm other people or their work.

* Do not damage the computer or network in any way. This includes
making the computers difficult or inefficient for others to use, attempting
to crash computers or networks, creating or intentionally using
programs designed to damage computers of inhibit network traffic,
creating or sending chain letters or excessive messages.

e Do not interfere with the operation of the network by installing illegal
software, shareware, or freeware.

e Do not violate copyright laws through unauthorized copying of software.

e Do not play games on the schoo! computers unless the games are part
of an instructional requirement.

e Do not view, send or display messages or pictures offensive to our
school community standards.

e Donot share your computer accounts or passwords with another
person.

e Do not waste limited resources such as disk space of printing capacity.
e Donot trespass in another's folders, work, or files.

e Donot subscribe to Listservs from the School's e-mail system.
Students who wish to subscribe to listservs should establish a public
Internet e-mail account and subscribe to the listserv(s) from that
account.

e Notify an adult immediately if you encounter material that violates the
rules of appropriate use.

e BE PREPARED to be held accountable for your actions and for the loss
of privileges if the rules of appropriate use are violated.

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student's adviser have been notified. in extenuating circumstances, when
the parents cannot be reached, the School reserves the right to proceed
with the disciplinary process without parent notification. At the conclusion
of the disciplinary process, parents (or designated guardians) will be
notified by telephone of the results of the meeting, with a letter to follow.
Parents or any other parties not associated professionally with the school
are not permitted to be involved with the meeting. Advisers or another
faculty member may attend the meeting with the student but will not
participate in formulating the recommendation to the Head of the Upper
School. Parents may appeal the decision.

RESIDENTIAL POLICIES

Sign-Out Procedures

When a resident student is invited to be an overnight guest in a day

student's home, both the resident student's parent and the day student's
-_parent must call the residence hall office (645-3451 for girls or 645-3646

for boys) to give permission for this visit.

Should guests be invited for an overnight in the residence hall, permission
must be obtained from the House Adviser on duty as well as from the
guest's parents. These requests must be submitted by Wednesday,
40:00 p.m., preceding the weekend of the visit. Resident students who
have signed out for the evening to a day student's home are expected to
call the residence hall office if they leave the home to go elsewhere.
Resident faculty will make random calls to homes where resident students
have indicated they have gone to verify their presence.

if resident faculty note that several students are going to a day student's
home, parents will be called to verify their knowledge of the gathering.
Resident students are required to give their time of departure, means of
transportation, destination, companions and time of return when they sign
out of the residence hall. Ninth and tenth grade students are not allowed
to leave campus without permission of a House Adviser on weekdays.

Visitors

Day students are welcome to visit the resident students at appropriate
times. Parents of day students are asked to contact the residence hall
when their children intend to stay in the hail for several hours or more.
The resident faculty does not supervise the arrival and departure of day
student visitors to the residence hall. Transportation for residential
weekend activities is available only for resident students. Please see
Residential Life for more information on day students staying overnight in
the residence hall.

CRANBROOK SCHOOLS TECHNOLOGY USE POLICY

This policy applies to all technology resources including but not
necessarily limited to computers, phones, video equipment, copy

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machines, and information storage devices, The use of these resources is
a privilege, not a right, and must be treated as such by all users. The trust
that defines this community requires that our technology resources be .
used for educational purposes consistent with the mission of the school

and used unselfishly, with good manners, and for the good of the
community as a whole. :

The actions listed comprise a non-exhaustive list of violations of the
school's policy on use of its technological systems:

Unauthorized copying or theft of software or other intellectual
problem from any source: Software is intellectual property. It is
unethical to copy software unless permission has been obtained from its
creator. Cranbrook must own and retain the licenses for any copyrighted
software loaded on Cranbrook's computers. Requests for new software
should be directed to the Schools' Technology Committee.

Use of any technological systems for commercial purposes:
Cranbrook's technology resources may not be used for private gain or
commercial purpose. Permission must be obtained from the appropriate
division head for use of Cranbrook equipment for other non-profit agencies
or causes. Cranbrook must be reimbursed by such agencies or causes.

Damaging, vandalizing, hacking, or destroying technological
systems, or equipment, including computer hardware or software:

All users shall respect the integrity of technologically based information.
Users shall not in any way damage, vandalize, hack, or destroy equipment
here or at any facility to which Cranbrook has access, either physically or
by making the system impossible, difficult or inefficient for others to use.
Printing excessive copies, attempting to crash computers or networks,
creating or intentionally using programs designed to damage computers,
creating or intentionally using programs that inhibit network traffic, creating
or transmitting chain letters or excessive messages or using devices that
restrict legitimate use, are all examples of conduct that violates the
Technology Use Policy.

Harassment through use of technological system: Use of the phone
system, copy machines or computer systems to send harassing,
demeaning, libelous, threatening or obscene messages anywhere or to
anyone is prohibited.

Invasion of the property of individuals or the school, including phone
mail and computer files: All users shall respect the interests of users. A
user's files and phone mail messages shall not be accessed without the
permission of the owner. Any attempt by users to access another user's
or the schoo!'s private files, phone or EMail messages will be considered
theft. Any attempts to gain access to unauthorized resources or private
information, either on the computer or telephone systems of this campus
or any systems to which Cranbrook has access, are prohibited.

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Sensitive information on the Cranbrook network is protected in a number
of ways. However, the proper use of passwords is important to the
integrity of any computer system. All users must observe appropriate
password security by not sharing accounts and passwords or leaving open
accounts unattended. it is the responsibility of all users to report to the
system administrators any problems, misuse or damage to the system or
to individual files.

Accessing or publishing pornographic or demeaning materials:
Some material available on the Internet may be objectionable to individual
_users. Cranbrook’s technology resources may not be used to access. or
publish dangerous or demeaning materials of a questionable nature, -
including but not limited to, pornography, documents encouraging violence
or illegal acts, and racist tracts or hate speech.
Consequences: The consequences of violating the Technology Use
Policy will be in keeping with the School's disciplinary system. All
violations of The Technology Use Policy are violations of a major
school rule. Cranbrook Schools has the right to review any material
stored on any system provided by Cranbrook and to edit or remove any
material; and materials will be randomly reviewed to protect Cranbrook’s
interests in the systems and to ensure that the systems are not being
misused. For any violation, a user's access to technology may be
suspended. Other consequences can include citizenship probation,
suspension, or expulsion from school, as well as full financial restitution for
time and money spent resolving issues resulting from misuse of the
School's computer systems.

Interpretation, application and modification of the Technology Use Policy
are within the sole discretion of Cranbrook Schools. Any questions or
issues should be directed to the Cranbrook Schools Administration.

HARASSMENT POLICY

Cranbrook Schools acknowledge and celebrate the diverse personal! and
cultural differences within our student body, faculty and administration. All
students and faculty have a right to participate in all school and classroom
activities in a welcoming atmosphere which is free from harassment. All
community members have the responsibility not to engage in any behavior
that is offensive or unwelcome to others. The Schools will not tolerate the
harassment of an individual or group. In the Upper School, harassment is
considered to be a major school rule violation for which a student is
subject to dismissal.

Harassment also includes negative actions toward an individual in a

legally protected class group. It is the policy of Cranbrook Educational
Community that the following kinds of harassment of its employees are not
tolerated: race, color, creed, religion, sex, age, height, weight, national
origin, marital status, sexual orientation, disability, veteran status or any
other basis prohibited by local, state, or federal law.

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